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      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE

   WILLIAM F. ABRAMS,                             JUDGMENT IN A CIVIL CASE

                        Plaintiff(s),             CASE NO. C21-0980 TSZ

          v.

   UNUM LIFE INSURANCE
   COMPANY OF AMERICA,

                        Defendant(s).

       Jury Verdict. This action came before the court for a trial by jury. The issues
       have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came on for consideration before the court. The
       issues have been considered and a decision has been rendered.

THE COURT ORDERS THAT

       Pursuant to the Court’s Opinion and Order, docket no. 43, and the findings of fact

therein, judgment is hereby entered in favor of plaintiff William F. Abrams (“Plaintiff”)

and against Unum Life Insurance Company of America (“Defendant”), IT IS

ORDERED, ADJUDGED, and DECREED as follows:


   (1) That Plaintiff shall have judgment in his favor and against Defendant on his claim

       for long term disability (“LTD”) benefits under Defendant’s Policy No. 631962

       002 (“the Policy”);

   (2) That Plaintiff’s LTD benefits under the Policy are reinstated;
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(3) That Defendant shall pay Plaintiff long term disability benefits in the gross amount

   of $15,000.00 per month and in accordance with the terms of the Policy, for the

   period of July 21, 2020, through the date of this Judgment;

(4) That Defendant shall pay Plaintiff prejudgment interest on the LTD benefits due

   under the policy from July 21, 2020, through the date of this Judgment in

   accordance with 28 U.S.C. § 1961.

(5) That Defendant shall continue to pay Plaintiff long term disability benefits from

   the date of judgment through July 20, 2023, absent a showing of improvement

   such that a reasonable physician would conclude that plaintiff can return to work

   in his regular occupation, without undue disruptions or absences due to his illness

   and its related symptoms;

(6) That Defendant shall pay Plaintiff’s attorneys fees of $166,650 and costs of $2,353.75.


   Dated this 27th day of February, 2023.



                                                Ravi Subramanian
                                                Clerk

                                                s/Laurie Cuaresma
                                                Deputy Clerk
